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                             UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION AT DAYTON

                                                 *
   In re: Tagnetics, Inc.                        *       Case No. 19-30822
                                                 *
                                                 *       Judge Humphrey
                                                         Chapter 7


                                TAGNETICS, INC.’S WITNESS LIST


            Alleged Debtor Tagnetics, Inc. (“Tagnetics”), pursuant to the Court’s Scheduling Order

   (ECF No. 99), files its witness list for the evidentiary hearing on its Motion to Enforce

   Settlement Agreement.

               NAME & ADDRESS                         SYNOPSIS OF TESTIMONY

Ken Kayser                                            Settlement negotiations between the parties.

Jon Hager                                             Settlement negotiations between the parties.

Ronald Earley                                         Settlement negotiations between the parties.

Stephen B. Stern, Esq.                                Settlement negotiations between the parties.



                                        Respectfully submitted,


          /s/ Stephen B. Stern                           /s/ Robert R. Kracht
   Stephen B. Stern, Admitted Pro Hac Vice               Robert Kracht (#0025574)
   Kagan Stern Marinello & Beard, LLC                    McCarthy, Lebit, Crystal & Liffman Co., LPA
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   Annapolis, Maryland 21401                             Cleveland, Ohio 44115
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   stern@kaganstern.com (email)                          rrk@mccarthylebit.com (email)

   Counsel for Alleged Debtor                            Counsel for Alleged Debtor
   Tagnetics, Inc.                                       Tagnetics, Inc.

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 11, 2019, a copy of the foregoing Witness List was served
 (i) electronically on the date of filing through the Court’ s ECF System on all ECF participants
 registered in this case at the email address registered with the court and (ii) electronically by email
 on counsel for Tagnetics, Inc., Stephen Stern, Esq. (Stern@kaganstern.com), Douglas Draper, Esq.
 (ddraper@hellerdraper.com) and Leslie Collins, Esq. (lcollins@hellerdraper.com), and (iii) by
 ordinary U.S. Mail on October 11, 2019 addressed to:

 Kenneth W Kayser
 PO Box 115
 Catawba, VA 24070

 Ronald E. Early
 6429 Winding Tree Drive
 New Carlisle, OH 45344

 Jonathan Hager
 842 Paint Bank Road
 Salem, VA 24153

 MaryAnne Wilsbacher
 Office of the United States Trustee
 170 North High Street
 Suite 200
 Columbus, Ohio 43215


                                                                /s/ Robert R. Kracht
                                                                Robert R. Kracht (#0025574)




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